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Case 1:05-cv-00377-WDM-BNB Document 167-6

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12/13/2006 Volz, Anthony

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Case No. 2005-WH-2377 (BNB}

 

DEPOSITION OF: ANTHONY G. VOL2, MSN, RNC, ANP
December 13, 2006

 

MOISES CARRANZA-REYES,
Plaintiff,

ve

PARK COUNTY, a public entity of the State of Catorado and
its governing board, THE PARK COUNTY BGARD OF COUNTY
COMMISSIONERS; PARK COUNTY SHERIFF'S GFFICK, a public
entity of the State of Colorado; FRED WEGENER,
individually and in his official capacity as Sheriff of
Park County, Colorado; MONTE GORE, individually and in
his capacity as Captain of Park County Sheriff's
Repartment; VICKTE PAULSEN, individually and in her
official capacity as Registered Nurse for Park County
Colorado; JAMES BACHMAN, M.D., individually and in his
official capacity as Medical Birecter of the Park County

Jail,

Defendants.

 

TAKEN PURSUANT TO NOTICE on behalf of the Defendant

Pauisen at &05 South Cascade Avenue, Colorada Sprin

   
 

at G:it a.ta. befers

   

Jona}

 

Coloracs.

12/13/2006 Voiz, Anthony

APPEARANCES
For the Plainbifel: LLOYD KORDICK, ESQ.
Lioyd ¢, Kordick 4 Associates
805 South Cascade Avenue
Colorado Springs, Colorado #0963
For the pefendants JENNIFER L. VEIGA, Eso.
Park County, Park Hall &§ Evans, BEC
County Board of $125 PER Street
Commissioners, Park Suite 600
County Sheriff's Denver, Colorado 80202
office, Wegener and
Gore:

For the Defendant MRLANER B, BEWES, ESQ.

Paulsen: Berg Hill Greenicaf & Ruscitti LLP
1712 Pearl Slreet
Houlder, Colorada 80302

Also Present: None

 

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INDE XR

EXAMINATION OF ANTHONY G. VOL42, MSN, RNC, ANP: PAGE

December 13, 2006

By Mr. Kordick 144, 160, 163

By Ms. Veiga 116, 159, 162, 166

Hy Ms. Lewis 4, 144, 159, 162
INITIAL

DEPOSITION EXHIBITS: REFERENCE

1620 Curriculum vitae of Anthony G. Volz, 9
MSN, RNC, ANP, not dated

103 Case review by Volz re Carranza-Reyes, 10
6/20/06
i0¢ fax cover sheet from Elizabeth to tox, 16

5/25/05; transcript of telephone meeting
between Kordick, Archuleta, Carranza-
Reyes, 2/46/05

195 Handwritten notes by Volz re Paulsen's 159
deposition transeript, not dated
146 Park County Jail chart notes re 189

Carranza-Reyes, 3/6/63 and 3/7/03

14% Notes by Yolz re Park County Pelicy and 1éf
Procedure Hanual, not, dated

ioriginal exhibits attached to original deposilion; copy

exhibits included in continuing exhibit: file; copies

proviced to counsel as requested.)

BORG T:

    
 

 

 

12/13/2006 Volz, Anthony

QHEREMPOM, the within proceedings were taken
pursuant to the Fouderal Rules of Civil Procedure:
ANTHONY G. VOLZ, MSN, RNC, ANP,
having been first duly sworn Lo skake the whole truth,
was examined and testified as follows:
ESALINAT TON

DY MS. LEW

 

Q. Would you please slate your name and
business address for the record,

Ae Anthony Gerard Volz; V, as in Victor, o-1l-2,
as in zebra. My business address is -- we just moved --
2222 North Mevada, Suite 2100, #0907,

Q. Re met just a moment ago. And my name is
Melanie Lewis, and I represent Nurse Vicki Paulsen in
thia case,

A Ohay.

Q. And T mabiced from the materials Lhak you
have provided that you have been deposed before; is that
right?

A. Correct.

g. Okay. And is that just one tine you were

 

 

ground rules le ury

 

ho make this process a yittlie easier. 1f you could

Paulsen’s A-21 4

 

 

 

 
 

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eventually was transported, or was it -- is it some other
time frame?
A, In my opinien, he should have been

transferred at 3:00 in the morning.

Q. Ae 3:45 avm. --

A, Yes -+

o. -- when she was called?

Aa -- when she got that call.

Q. Okay. Are you offering expert testimony on

the issues of deliberate indifference?

AL I don't understand what that question is.

Q. Well, do you understand -- do you have an
understanding what it means to violate the 8th or l4dth
&nendments?

Th. Ne, I don't.

Q. Se how are you concluding that there was an
apparent violation?

A. On recall of looking at this right new. But
looking -- I had the amendments in fronk of me at that
time, and To made that canclusion at that time.

o. to you +=

 

Fron oy

 

   

ge Se you don't fave any specialized training

OF

1243/2006 Volz, Anthony

Of @xperilence in determining whether a violation of the

ath Amendsent cecurred -—

A. No, I don't.

a. -- of the 14th Amendment, right?

A, Wo,

O. And do you feel like you're more qualified

than a jury to determine whether there was a violation of
the @th Amendment in regards toa medical care?
A. io don'k --

MR. KORDICK: Object to the Form of the
question.

THE DEPONENT: I don't knew if the jury is
any more expert than ( would be if you explain the -- if
T had an opportunity ta rereview what the amendments are.

QO. (RY MS. LEWIS! Well, Let's puk it this way:

You reviewed the amendments --

BR. Correck,

OQ. -- when you were preparing your report,
right?

Ae Correck,

QO. And is that the first time you actually sat

down and read th

 

fu And reviewed them and apmiied them, correch.

   

Be And you would age

exack exerc a jury would ac through --

 

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AL Oh, 1 --
THE REPORTER: Wait.
THE DEPOWENT: Oh, that was ine.
a (BY HS, LEWES} Yeah, you've got to wail.
(The question on page 98, lines 24 through
25 was read back.}

a. -- meaning they would look at the law and
try to determine whether there was a violation of the
law, right?

A. II agree.

Q. And you're not saying you're in a bhelter
position than a jury to evaluate that question?

A, I agree.

QO. Okay. Was there any information that you
sau that Ms. Paulsen knew Mr. Carranza-Reyes had a strep
A infection?

A. No.

oe Ils there any information you had or you saw
that led you te believe that Ms. Paulsen knew Nr.

Carranza-Reyes had a life-threatening condition?

is that Lhe

 

 

Q.
a9
12432008 Volz, Anihony

A 3145 --

QO. And that’s --

A. vs on the @th.

Oo. That Was me. I'm sorry. And that's based
on the respirations, right?

A. Correct.

O. Okay. On your Review of Summary Number 9
the middle paragraph, you say, "Nurse Paulsen had been
given the opkion by INS ko transport earlier than wailing
the three te four hours of INS transport coordination."
Do you see that?

A, Yes,

(interruption of the proceedings by a knock
at the door.)

MWR, KORDICK: Bon't say F never bought you
nothing for Christmas.

HS. VEIGA: I should have ordered chips, or
something.

MS. LEWIS: I know ik.

QO. {BY MS. LEMIS} And again, you're nok --
you're not saying that Ms. Paulsen was told anything
but -- by INS that she could transport if his condition
wor sonced?

A, They cid tell her that it could take two to
three hours £0 arrange transport on their part.

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12/13/2006 Volz, Anthony 42/13/2006 Volz, Anthony
1 SIGNATURE OF WITNESS 1 COPFMAN REPORTING & LITIGATION SUPPORT, INC.
2 1, ANTHONY G. VOLZ, MSN, RNC, ANP, do hereby i440 Blake Street, Suite 320 L,
3 certify that 1 have read the depesition and that the 2 Denver, Colorado 80202 "
4 foregoing transcript and accompanying change sheets, if 303.893.0202
3 any, constitute a true and complete transcript of my 3
6 testimony. 4 MELANIE 8. LEWIS, HSO.
7 Berg Hill Greenleaf & Ruscitti LLP
5 1712 Pearl Street
3 Houlder, Colorado 80302
3 é
ANTHONY G. VOL2, MSN, RNC, ANP 7 Re: Carranza-Reyes v. Park County
10 Date Read and Signed: Deposition of; ANTHONY G, VOLZ, HSN, RNC, ANP
il g Bate of Daposition: December 13, 2006
SUBSCRIBED AND SWORN TO before me this day of Trial Date: None Set
12 1 . 9
13 { ) Changes attached { } No changes Enclosed is:
\4 10
15 { J ORIGINAL TRANSCRIPT, Please retain unopened
NOTARY PUBLIC li original until it is required by any party ina ES
1é trial or hearing in the above matter. Be
1Z
or 7 ( } GRIGINAL SIGNATURE PAGE
My 13 with without corrections; copies provided ta
aon oe other counsel; please append these sealed originals
18 14 to original transcript in your possession.
My commission expires: 15 ( } No signature or correction sheets received.
1% & ( ) Review of transcript not requested.
20 7 ( } 30-day review unavailable. Signature/correction
Re: Carranga-Reyes v. Park County pages forwarded to counsel Randling signature.
Fl Date of Deposition: December 13, 2006 18 Original filed in anticipation of trial date.
Trial Gare: Hone Set See bletker within deposition.
ee 12
** } Copy of deposition, siqnature and correction
. i. to deponent. Sec in de
“ Signature not icable.
Syiginal vra igt i aon
vs ade: Blas y Euate se Follow-up do nhaLion filed
benver, Colorade s0do2 cc: Attending counsel
2k
169 174
12/13/2006 Volz, Anthony
1 COFFMAN REPORTING & LITIGATION SUPPORT, INC,
1440 Blake Street, Suite 326
2 Denver, Colorado 86202
303.893.0202
4
fi December 22, 2006 .
5
LLOYD KORVECK, Ef r-
6 Lloyd C. Kordick & Associates
805 South Cascade Avenue
7 Colorado Springs, Colorado $0903
8
Re; Carranza-Reyes v. Park County
9 Deposition of: ANTHONY G. VOLZ, MSN, RNC, ANP
Date of Deposition: December 13, 2006
10 frial Date; None Sel
il
Dear Mr. Kordick:
12
Enclosed is the original signature page of Lhe above
13 deposition. It was agreed you would arrange for the
witnesses's signature with your copy of the transeripk.
14
fusendment sheets are included. Afker Lhe signature paqe
15 and amendment sheels are signed, please have both
notarized and rekturn for Filing Fo
16
to this office within 30 cays pursuank to Rule 34.
1d
Thank you for your prompt attention to this matter,
ig .
Sincerely, .
a0
= COFFMAN REPORTING
22 ect Aectending counsel
23
24
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